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14

15                               UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA

17

18   IN RE: SOCIAL MEDIA ADOLESCENT                  MDL No. 3047
     ADDICTION/PERSONAL INJURY
19   PRODUCTS LIABILITY LITIGATION                   CASE NO.: 4:22-md-03047-YGR

20                                                   DEFENDANTS META, TIKTOK, AND
                                                     YOUTUBE’S RESPONSE TO
21   This Document Relates to:                       PLAINTIFFS’ MOTION FOR RELIEF
                                                     FROM NONDISPOSITIVE
22   ALL ACTIONS                                     PRETRIAL ORDER OF
                                                     MAGISTRATE JUDGE REGARDING
23                                                   EXPERT DISCLOSURE

24                                                   Honorable Yvonne Gonzalez Rogers
                                                     Honorable Thomas S. Hixson
25

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     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION                            4:22-MD-03047-YGR
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 1                                           INTRODUCTION

 2          The Magistrate Court did not commit clear error in adopting Section 7.6 of the Protective

 3   Order (“PO”) (ECF No. 290), which adopts Section 7.4(a) of this District’s “presumptively

 4   reasonable” Model Protective Order for Litigation Involving Patents, Highly Sensitive

 5   Confidential Information and/or Trade Secrets (“HCC Model PO”). Kelora Sys., LLC v. Target

 6   Corp., 2011 WL 6000759, at *2 (N.D. Cal. Aug. 29, 2011). Section 7.6 requires that, before a

 7   party may give an expert access to another party’s “HIGHLY CONFIDENTIAL

 8   (COMPETITOR)” (“HCC”) protected material, it must disclose the expert’s identity and basic

 9   conflicts information (e.g., employers and sources of professional income). See ECF No. 290.1

10   Such disclosure serves an important and common-sense purpose: It gives the designating party

11   the information necessary to assess, raise, and resolve legitimate objections that disclosure of its

12   most confidential information to a particular expert could cause competitive harm––before

13   irreparable competitive harm occurs.

14          Plaintiffs seek a departure from the HCC Model PO’s default provisions on the grounds

15   that disclosure of an expert’s identity and background information invades protected work

16   product. But the Ninth Circuit has squarely rejected that view, holding that such disclosures do

17   not divulge any communications with, facts known, or opinions held by an expert—which is all

18   the federal rules protect. And courts in this District have also rejected the same challenge that

19   Plaintiffs make here, finding that a magistrate judge’s decision to adopt these disclosure

20   provisions is not “clearly erroneous.” Plaintiffs’ arguments also overlook that Section 7.6

21   requires no disclosure of a non-testifying expert at all, unless and until a party seeks to share

22   another party’s highly confidential, competitive information with that expert.

23          Nor does the existence of a coordinated JCCP proceeding somehow make this District’s

24   model provisions unlawful or impede coordination. The PO applies only to the federal

25   proceedings; no coordination order has been entered; and neither side’s proposed coordination

26

27      1
          The PO in this case adds only one additional disclosure to the HCC Model PO: patent
28   applications in which an expert is the “inventor,” “applicant,” or has a “pecuniary interest.” PO
     § 7.6(a)(7).
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION         -1-                              4:22-MD-03047-YGR
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 1   order (even when entered) would require the state-court plaintiffs to retain (or disclose) the same

 2   non-testifying or consulting experts as the federal Plaintiffs. The PO therefore imposes no

 3   obligations on the state-court plaintiffs. Contrary to Plaintiffs’ insinuation, Judge Kuhl has never

 4   suggested—much less ruled—that entry of a PO containing an expert disclosure obligation for

 5   the MDL would violate California law. See infra n.8. Rather, she has directed the parties to brief

 6   whether California law requires a different approach for purposes of the JCCP proceedings, after

 7   a final PO is entered in the MDL. That does not bear on the proper resolution of this issue under

 8   federal law for this MDL—much less render Judge Hixson’s well-reasoned adoption of the

 9   approach endorsed in this District’s Model Protective Order clear error.

10          Plaintiffs’ objections should be overruled.

11                                             BACKGROUND

12          This is Plaintiffs’ third effort to re-litigate this dispute. Plaintiffs first objected to Section

13   7.6 (then-Section 7.7(a)) in a March 17, 2023 joint letter brief, in which they argued that

14   disclosing even an expert’s name “eviscerates” their work product privilege. See ECF No. 192 at

15   2. Judge Hixson disagreed, explaining that disclosing the identity of an expert “doesn’t require

16   disclosure of [the expert’s] work.” 4/10/23 Hr’g Tr. 39:9-12, 21-23 (adopting Defendants’

17   proposed expert disclosure provision). Judge Hixson further observed that “given the sensitive

18   nature of the information that the defendants either have produced or are likely to produce,”

19   “defendants are entitled to know who has their material, and they’re entitled to the other

20   information in Paragraph 7.7(a), so they can make an appropriate challenge[,] [i]f there’s a basis

21   to do so, to the retention of an expert.” Id. at 39:6-8, 13-16. Judge Hixson ordered the parties to

22   submit a proposed protective order “in keeping with [his] rulings.” Id. at 68:13-14.

23          Instead of doing so, Plaintiffs raised this dispute again. They asked Judge Hixson in a

24   May 12, 2023 letter brief to “reconsider [his] ruling” regarding “advance disclosure of experts

25   who access Highly Confidential material,” based on the same mischaracterization of Judge

26   Kuhl’s comments at the May 3 hearing (infra n.8) that Plaintiffs advance here. ECF No. 271 at

27   2. In a tentative discovery order, Judge Hixson again rejected Plaintiffs’ arguments, with further

28   explanation of why the Meta, TikTok, and YouTube Defendants’ approach was warranted:

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 1          Data breaches and ransomware attacks are on the rise. Forcing Defendants to
            produce extremely sensitive materials, and then telling them “Don’t worry who has
 2          your data - that’s not for you to know” is really just too much. Under Plaintiffs’
            proposal, Defendants would never, not even at the conclusion of the litigation, know
 3          all the expert firms that have or had their data because they would never learn about
            the experts Plaintiffs later decided not to use. If a data breach happens and some of
 4          Defendants’ highly confidential materials end up in the public record, Defendants
            need to know all the possible sources of the breach.
 5
            Further, the other purpose of the disclosure is to give the designating party the
 6          opportunity to object if it believes its protected material should not be disclosed to a
            particular expert…. The day expert reports are due is not when a designating party
 7          should learn for the first time that someone who never should have had their
            protected materials has them.
 8

 9   ECF No. 284 at 4. The parties submitted a proposed protective order incorporating the tentative

10   rulings, ECF No. 287, which Judge Hixson adopted on May 22, 2023, ECF No. 290; see also

11   ECF No. 289 (final Discovery Order).

12                                             ARGUMENT

13          On appeal of a Magistrate’s Judge’s non-dispositive ruling, “[t]he district court shall

14   defer to the magistrate’s orders unless they are clearly erroneous or contrary to law.” Grimes v.

15   City & Cnty. of S.F., 951 F.2d 236, 240 (9th Cir. 1991) (quoting Fed. R. Civ. P. 72(a)). “[A]

16   magistrate judge’s non-dispositive ruling is clearly erroneous only when the district court is left

17   with a ‘definite and firm conviction that a mistake has been committed.’” Apple Inc. v. Samsung

18   Elecs. Co., 888 F. Supp. 2d 976, 984 (N.D. Cal. 2012) (citation omitted). Plaintiffs do not come

19   close to meeting that deferential standard.

20          A.      The Magistrate Court Did Not Clearly Err in Following the HCC Model PO.

21          “[T]he court treats the model protective order as setting forth presumptively reasonable

22   conditions regarding the treatment of highly confidential information.” Kelora, 2011 WL

23   6000759, at *2. And with the exception of disclosures related to the proposed expert’s patent

24   applications—a provision that Plaintiffs do not seriously challenge and for which Judge Hixson

25   found good cause2—Section 7.6 appears verbatim in Section 7.4 of the HCC Model PO.

26

27      2
           4/10/23 Hr’g Tr. 40:15-21 (Hixson, M.J.) (approving inclusion of patent disclosure because
28   “in the context of this case, … it’s legitimate information” Defendants would need to know to
     “inform” whether disclosure would present a risk of competitive harm).
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 1          That Plaintiffs allege “products liability” claims rather than “patents and trade secrets”

 2   claims, ECF No. 303 at 3, is of no moment. The HCC Model PO facially applies to any case

 3   involving “patent,” “trade secret,” or “highly sensitive confidential information.”

 4   Unsurprisingly, courts have routinely adopted it outside the patent and trade secret contexts,

 5   when a plaintiff’s claim targets a defendant’s proprietary features. See, e.g., Stipulated

 6   Protective Order, In re Apple iPhone Antitrust Litig., No. 4:19-cv-3074-YGR (N.D. Cal. Jan. 9,

 7   2020), ECF No. 85 (adopting HCC Model PO in antitrust case); Stipulated Protective Order,

 8   Brown v. Google LLC, No. 4:20-cv-03664-YGR (N.D. Cal. Oct. 15, 2020), ECF No. 81 (same,

 9   in cookie-tracking case regarding web browser); In re Google Assistant Priv. Litig., 2020 WL

10   4698810, at *1-3 (N.D. Cal. Aug. 13, 2020) (same, in privacy case over voice feature); In re

11   Zoom Video Commc’ns Inc. Priv. Litig., 2021 WL 254265, at *1 (N.D. Cal. Jan. 26, 2021)

12   (same, in case involving video feature).3

13          Plaintiffs’ claims challenge a host of proprietary features of Defendants’ services as

14   “defective,” and Plaintiffs will almost certainly seek discovery into Defendants’ most closely

15   held trade secrets, including source code (see ECF No. 303 at 4) and non-source code materials

16   about how Defendants’ algorithms work, business and pricing strategies, and other highly

17   sensitive and technical information. Judge Hixson thus did not clearly err in finding that

18   “discovery in this case is likely to involve highly-confidential matters.” 4/10/23 Hr’g Tr. 7:19-

19   25.4

20          Plaintiffs’ related argument that source code is the only category of trade secret that could

21   cause competitive harm if disclosed (ECF No. 303 at 4) is meritless. Under the PO, a risk of

22   harm from disclosure is required for the HCC designation. See PO § 2.10 (defining HCC

23   material as “Protected Material the disclosure of which to another Party or Non-Party would

24
        3
           Johnson v. City and County of San Francisco, 2011 WL 13377688 (N.D. Cal. Feb 9,
25   2011)—a civil rights case alleging discriminatory promotion by the San Francisco Fire
     Department—involved none of the types of information at issue here and is inapposite.
26       4
           Beyond being irrelevant, Plaintiffs’ objection that Section 7.6 “as a practical matter … only
27   burdens Plaintiffs” (ECF No. 303 at 2) is also wrong. This MDL involves four distinct and
     competing technology companies—all of whom will be subject to the same disclosure and
28   vetting procedures if they seek to share each other’s highly confidential competitive information
     with their own experts.
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 1   create a substantial risk of serious harm that could not be avoided by less restrictive means.”

 2   (emphasis added)); see also HCC Model PO § 2.8 (same). Many types of non-source code

 3   material could cause serious harm if disclosed to a competitor, such as a company’s proprietary

 4   formula or a confidential product launch strategy. Cf. HCC Model PO § 2.9 (defining source

 5   code separately from HCC material). Indeed, the HCC Model PO applies the expert disclosure

 6   provisions to all highly confidential information, not merely to source code. Id. § 7.4.

 7          B.      Section 7.6 Does Not Invade Protected Work Product and Is Essential to
                    Protecting Defendants’ Proprietary, Competitive Information.
 8

 9          Judge Hixson’s ruling is also not “clearly erroneous” because it follows “innumerable

10   decisions in this District” rejecting Plaintiffs’ argument that conditioning an expert’s access to a

11   party’s most confidential information on disclosure of the expert’s identity invades protected

12   work product. In re Google Assistant, 2020 WL 4698810, at *1 (disclosure of expert identity

13   and information to assess competitive risk of disclosure does not reveal protected “work

14   product”); Order re Discovery Dispute, Free Range Content, Inc. v. Google Inc., No. 5:14-cv-

15   02329-BLF (N.D. Cal. Oct. 11, 2016), ECF No. 133 (rejecting plaintiffs’ work product argument

16   because “the court surely took these risks into account when drafting the language of the model

17   protective order”); Minute Entry, Darisse v. Nest Labs, Inc., No. 5:14-cv-01363-BLF (N.D. Cal.

18   May 12, 2015), ECF No. 51 (“grant[ing] defendant’s motion for protective order” containing

19   “Paragraph 7.4” expert disclosure obligations over plaintiffs’ work product objection).5

20          Indeed, Judge Koh has already rejected a Rule 72(a) appeal on exactly the issue presented

21   here, holding that requiring disclosures before an expert may receive “Highly Confidential –

22   Attorneys’ Eyes Only” documents is “neither ‘clearly erroneous’ nor ‘contrary to law.’” In re

23   Zoom, 2021 WL 254265, at *1.

24
        5
25        Cf. Gradillas Ct. Reps., Inc. v. Cherry Bekaert, LLP, 2018 WL 2197544, at *7 (N.D. Cal.
     May 14, 2018) (rejecting Plaintiffs’ proposed protective order as “inadequate” specifically
26   because it “cuts out the majority of the Model Protective Order’s § 7.4, concerning the producing
     party’s ability to approve or object to the disclosure of highly confidential information to an
27   expert”); TD Pro. Servs. v. Truyo Inc., 2022 WL 3098985, at *8 (D. Ariz. Aug. 4, 2022)
     (“Providing its experts’ CVs to Defendants to ascertain affiliation with a competitor would have
28   minimal burden on Plaintiff while affording Defendants certainty that their source code and other
     proprietary material remains secure.”).
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION        -5-                              4:22-MD-03047-YGR
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 1          The cases Plaintiffs cite are both contrary to Ninth Circuit precedent and readily

 2   distinguishable. Plaintiffs cite Corley v. Google, Inc., 2016 WL 3421402, at *3 (N.D. Cal. June

 3   22, 2016), which relied on In re Pizza Time Theatre Securities Litigation, 113 F.R.D. 94, 98

 4   (N.D. Cal. 1986), for the proposition that the mere identity of a non-testifying expert is protected

 5   work product under Federal Rule of Civil Procedure 26(b)(3). Corley also suggested that

 6   disclosure of an expert’s identity “indirectly” reveals “facts known” by the expert, purportedly in

 7   violation of Rule 26(b)(4)(D).

 8          But at the time Corley was decided, the Ninth Circuit had already rejected both of those

 9   arguments in Ibrahim v. Department of Homeland Security, holding that nothing in Rule 26

10   precludes disclosure of a non-testifying expert’s identity and background check information in

11   the context of an expert seeking access to highly sensitive information. 669 F.3d 983, 999 (9th

12   Cir. 2012). As the Court of Appeals recognized, Rule 26(b)(3) imposes no restriction because it

13   protects only “mental impressions, conclusions, opinions, or legal theories of a party’s attorney

14   or other representative concerning the litigation,” id., while Rule 26(b)(4)(D) prohibits only the

15   discovery of “facts known or opinions held by a[] [non-testifying] expert,” Fed. R. Civ. P.

16   26(b)(4)(D) (emphasis added). These protections are distinct from, and do not extend to, “the

17   identity of a nontestifying expert.” Ibrahim, 669 F.3d at 999. In addition, Rule 26(b)(4)(D) by

18   its terms applies only to information obtained “by interrogatories or deposition.” Id. It is

19   therefore inapplicable to expert disclosures required by a protective order.

20          Ibrahim thus refutes any argument that an expert’s identity is protected work product

21   under Rule 26—the core premise of Corley, In re Pizza Time, and all of Plaintiffs’ cases. See

22   Burt v. AVCO Corp., 2015 WL 12912366, at *4 (C.D. Cal. Nov. 17, 2015) (likewise relying on

23   In re Pizza Time); Todd v. Tempur-Sealy Int’l Inc., 2015 WL 433481, at *4 (N.D. Cal. Feb. 2,

24   2015) (same premise). Because they are contrary to binding precedent, these cases are simply

25   not good law. See In re Google Assistant, 2020 WL 4698810, at *2 (recognizing that Corley is

26   contrary to Rule 26 and Ibrahim).6 Indeed, as the district court “correctly held” in Ibrahim, “[i]t

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        6
          Even work product is still discoverable upon a showing of “substantial need” or
28   “exceptional circumstances.” E.g., Fed. R. Civ. P. 26(b)(3)(A)(ii), (4)(D)(ii). The disclosure of
                                                                                           (continued...)
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 1   is commonplace for experts and consultants on both sides of any ordinary civil action to be

 2   vetted so that trade secrets and other sensitive information will not fall into the hands of someone

 3   with an adverse position to the owner of the sensitive information.” Ibrahim, 669 F.3d at 999

 4   (emphasis added) (quoting district court).

 5          Plaintiffs’ cases are also distinguishable from this one. In Corley, the plaintiffs made a

 6   specific showing, supported by a sworn declaration, that several potential experts had “already

 7   refused to work on this case” on account of the disclosure requirement. 2016 WL 3421402, at

 8   *3. Plaintiffs have made no such showing here. In Todd, the parties had previously agreed to

 9   alternative language imposing a pre-disclosure investigation and certification requirement, which

10   the court found sufficient under the facts there. See Todd, 2015 WL 433481, at *4. But the court

11   had no occasion to address the concerns identified by Judge Hixson regarding leaks and other

12   potential sources of conflicts, such as active patent applications (and regardless, Ibrahim rejected

13   Todd’s reasoning that self-vetting by “adverse” parties sufficiently protects a party’s “sensitive

14   information.” 669 F.3d at 999); see also In re Google Assistant, 2020 WL 4698810, at *1

15   (rejecting Todd).7 And Burt simply deferred to a ruling that plaintiffs need not disclose their

16   experts’ identities to defendants for export controls compliance purposes, when plaintiffs were

17   already required to lodge with the Magistrate Court a list of all individuals to whom they

18   provided such export-controlled material. 2015 WL 12912366, at *3-4. Burt thus did not

19   address the need for disclosure to guard against potential competitive injury.

20
21

22   an expert’s identity and background information for the purpose of protecting a company’s most
     closely held secrets would easily “satisf[y] that requirement,” were it applicable (it is not). In re
23   Google Assistant, 2020 WL 4698810, at *2; see also Corley, 2016 WL 3421402, at *4 (requiring
     disclosure of experts who review source code).
24       7
           The Todd court also cited cases rejecting its own premise about work product and the
25   argument Plaintiffs make here. See 2015 WL 1022886, at *1 (N.D. Cal. Mar. 6, 2015) (citing
     Baki v. B.F. Diamond Constr. Co., 71 F.R.D. 179, 182 (D. Md. 1976), which held that “the
26   names, addresses, and other identifying information of [non-testifying] experts,” are
     “routine[ly]” discoverable and granted a motion to compel that information, reasoning that
27   expert identities can be withheld under Rule 26 only for non-retained, “informally” consulted
     experts who have no “information or knowledge” concerning the case (emphasis added)). A
28   consultant shown a party’s highly confidential information would necessarily have “information
     or knowledge” concerning the case and would not meet this narrow exclusion.
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 1          C.      Section 7.6 Will Not Impede Coordination with the JCCP Proceedings.

 2          The existence of coordinated JCCP proceedings likewise provides no basis to depart from

 3   the HCC Model PO’s presumptively reasonable approach. To start, Plaintiffs’ premise—that

 4   Section 7.6 puts Plaintiffs in a “catch-22” of having to “disclose their experts early” or forego

 5   coordination (ECF No. 303 at 4-5)—is wrong. This Court’s protective order applies only to the

 6   MDL Plaintiffs; it does not require the JCCP Plaintiffs to disclose the JCCP’s experts. As Judge

 7   Kuhl has stated repeatedly, she will decide whether to adopt a parallel disclosure requirement in

 8   the JCCP once a final protective order is entered in the MDL. E.g., Minute Order, JCCP No.

 9   5255 (Cal. Super. Ct. L.A. Cnty. May 3, 2023) (ordering that, if the “Protective Order … entered

10   in the MDL proceeding … requires a party to disclose the name of an expert to whom highly

11   confidential information will be disclosed,” the JCCP Plaintiffs “may file a motion to ask this

12   Court to omit such provision from a Protective Order in this case [i.e., the JCCP].” (emphasis

13   added)); Minute Order, JCCP No. 5255 (Cal. Super. Ct. L.A. Cnty. May 25, 2023) (similar).8

14          Absent such a requirement, however, Defendants would have no way of knowing

15   whether the JCCP Plaintiffs are or are not retaining the same experts until the expert disclosure

16   deadline in the JCCP. Judge Hixson’s approach thus fully preserves whatever rights the JCCP

17   Plaintiffs (and their lawyers) have under California law and does nothing to impede coordination.

18          Moreover, though the precise contours of California law are irrelevant to these

19   proceedings, Plaintiffs’ sole cited case does not support their interpretation. Hernandez v.

20   Superior Court rejected a far more invasive and “unilateral” disclosure of “petitioners’ experts

21   and their opinions,” and it required disclosure for an entirely different purpose: “in order to

22
        8
23         Plaintiffs also misstate Judge Kuhl’s comments at a May 3, 2023 hearing. What she
     actually said on this issue was:
24       So the Northern District of California has the extensive experience, probably more than
         anyplace in the country, with especially patent cases that have trade secret and technical
25       information of that sort, and I certainly respect their understanding of the risks and
         protections for highly confidential trade secrets and technical information. My view,
26       without conducting [] separate research for this case, is that I don’t think California [] law
         – allows the identity of a nondesignated expert to be required to be disclosed to a party
27       opponent. So depending on what is done in the federal court, this issue will need to be
         briefed here.
28
     5/3/23 JCCP 5255 Hr’g Tr., ECF No. 303-1 at 7:23-8:10 (emphasis added).
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION        -8-                              4:22-MD-03047-YGR
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 1   establish a prima facie showing of exposure and causation.” 112 Cal. App. 4th 285, 296 (2003)

 2   (emphasis added). Hernandez says nothing about the reciprocal, limited disclosure of an

 3   expert’s identity and background information for the important purpose of protecting a producing

 4   party from potentially severe competitive harm. It does not suggest that such a disclosure would

 5   be impermissible even under California law—or that California law somehow allows a different

 6   set of Plaintiffs to avoid their disclosure obligations under federal law.

 7          D.      Plaintiffs’ “Alternative” Proposals Do Not Adequately Protect Designating
                    Parties, Given the Highly Sensitive Nature of the Information at Issue.
 8

 9          Instead of the HCC Model PO’s restrictions, Plaintiffs ask the Court to adopt the position

10   that no expert disclosures are required at all. Under their proposal, HCC material would “be

11   treated in the same manner as documents designated ‘CONFIDENTIAL,’” except that counsel

12   would generally be barred from showing the material to their clients. Proposed Order, ECF No.

13   303-3 at 2. In the alternative, Plaintiffs urge the Court to adopt the “alternative” provision in the

14   HCC Model PO’s footnote 7, which would require disclosure of an expert receiving HCC

15   material only if that expert is “a current officer, director, or employee of a competitor of a Party

16   or anticipated to become one.” Id.

17          As a threshold matter, Plaintiffs cite no legal basis for finding “clear error” in a

18   Magistrate Court’s adoption of a default model provision over an “alternative” model provision,9

19   let alone over a non-model provision. See Corley, 2016 WL 3421402, at *1 (“A party who

20   unilaterally requests a deviation from the presumptively valid terms of that model order must

21   show ‘specific harm or prejudice’ ….” (citation omitted)). Furthermore, the Magistrate Court

22   addressed Plaintiffs’ arguments on the record at the April 10, 2023 hearing, e.g., 4/10/23 Hr’g

23   Tr. 33:25-34:1, 39:6-20, and correctly held that neither of Plaintiffs’ proposals would adequately

24   protect Defendants’ strong interests in protecting their most sensitive information.

25

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          Stark v. Patreon, Inc., No. 3:22-cv-03131-JCS (N.D. Cal. Aug. 23, 2022), involved a
28   stipulated PO, and thus the Court did not make a finding regarding whether the alternative HCC
     Model PO’s level of protection was adequate.
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION         -9-                              4:22-MD-03047-YGR
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 1          First, Judge Hixson held that “[w]ithout [the full information contemplated by Section

 2   7.6], there’s no way [Defendants] could meaningfully challenge somebody as an expert, even if

 3   they had a legitimate and good basis to do so.” Id. at 39:17-20. For example, Plaintiffs’

 4   alternative (footnote 7) language would allow an expert to access highly confidential information

 5   without disclosing that the expert receives remuneration from a competitor for non-employee

 6   “consulting” services. It would likewise require no disclosure of an expert with an active patent

 7   application or financial interest in a directly competing patent application—even though the

 8   Ninth Circuit has recognized that “[t]he risk” in that situation “is simply too great that … a trade

 9   secret might be misappropriated by a consultant or expert and written into a pending patent

10   application.” Ibrahim, 669 F.3d at 999 (quoting district court). Second, Judge Hixson reasoned

11   that, given the “very sensitive information” at issue, id. at 33:12, Defendants have a legitimate

12   “concern that [their highly confidential information] could … be leaked on social media,” id. at

13   33:17-21. Without the full “universe of people who got this highly-confidential information,” id.

14   at 33:25-34:1, Defendants could not even begin to investigate or identify the source of any leaks.

15          Judge Hixson’s rulings were consistent with established law. Because a “trade secret

16   once lost is … lost forever,” WeRide Corp. v. Huang, 379 F. Supp. 3d 834, 853 (N.D. Cal. 2019),

17   a designating “party … should not have to rely on an opponent’s expert’s self-evaluation of

18   conflicts,” In re Google Assistant, 2020 WL 4698810, at *2. Especially in a case like this,

19   putting an adverse party or expert in the position of self-policing conflicts simply creates “too

20   great” a “risk … that someone in such an adverse position will be tempted to misuse sensitive

21   information for a purpose other than the litigation.” Ibrahim, 669 F.3d at 999. Judge Hixson’s

22   decision to adopt the standard disclosure provision of the HCC Model PO, rather than an

23   alternative, was in no way clearly erroneous.

24                                            CONCLUSION

25          For the reasons set forth herein, Plaintiffs’ motion should be denied and the Protective

26   Order entered in this case as approved by the Magistrate Court (ECF No. 290).

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     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION   -11-                         4:22-MD-03047-YGR
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 1                                   ATTORNEY ATTESTATION

 2          I, Brian M. Willen, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with N.D. Cal. Civil L.R. 5-1(h)(3), I hereby attest that the

 4   concurrence in the filing of this document has been obtained from the signatories.

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